Case 21-04030-mxm Doc 53 Filed 02/18/22       Entered 02/18/22 16:43:28    Page 1 of 6


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Counsel for Plaintiff Franck Radenne
                     IN THE UNITED STATES BANKRUTPCY COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 FORT WORTH DIVISION
IN RE:                                    §
                                          §
DUNTOV MOTOR COMPANY, LLC,                §       CASE NO. 21-40348-mxm-11
                                          §        (Chapter 11)
DEBTOR.                                   §
                                          §
ALAN SEVADJIAN,                           §
        Plaintiff,                        §
v.                                        § ADVERSARY NO. 21-04030-mxm
TEXAS DEPARTMENT OF                       §
MOTOR VEHICLES                            §
        Defendant,                        §
v.                                        §
JOHN FRANKLIN COOLEY, JR.                 §
        Intervenor                        §
                                          §
CONSOLIDATED WITH                         §
FRANCK RADENNE,                           §
        Plaintiff                         §
v.                                        §
DUNTOV MOTOR COMPANY, LLC                 §
ALAN SEVADJIAN, and                       §
EDWARD SEVADJIAN,                         §
Defendants.                               §

 PLAINTIFF FRANCK RADENNE’S RESPONSE TO DEFENDANTS’ MOTION FOR
                LEAVE TO FILE AMENDED COMPLAINT

      Plaintiff Franck Radenne (“Radenne”) files this Response to Defendant Duntov Motor
Case 21-04030-mxm Doc 53 Filed 02/18/22                       Entered 02/18/22 16:43:28              Page 2 of 6


Company’s (“Defendant”) Motion for Leave to File Amended Complaint [Docket No. 34]

(“Motion for Leave”), and would show the Court as follows:

                                                  SUMMARY

         Defendant’s Motion for Leave does not meet the standard set by the United States Supreme

Court in Foman v. Davis 1 for allowing a party to amend their complaint. Defendant seeks to delay

this suit by adding a party who, as of yet, has not asserted any claims or interests regarding the

alleged 1968 Corvette (the “Corvette”) at issue in this adversary proceeding. However, Defendant

has known about the existence of this party for the entirety of this adversary proceeding, and only

now seeks to bring them into this adversary proceeding. Furthermore, Defendant seeks to add

irrelevant and tangential, and ultimately dilatory claims regarding the prior ownership of the

Corvette which will not help this Court determine whether Defendant’s conduct was fraudulent,

as well as whether Defendant was in breach of contract and warranty. Finally, allowing Defendant

to amend would unnecessarily cause delay and undue prejudice to all other parties in this adversary

proceeding, in part because of the new discovery that would have to take place should this

amendment be allowed.

                                      ARGUMENTS AND AUTHORITIES

         In Foman, the United States Supreme Court stated that while leave to amend pleadings

should typically be freely given, in certain circumstances “undue delay, bad faith or dilatory

motive on the part of the movant, repeated failure to cure deficiencies by amendments previously

allowed, undue prejudice to the opposing party by virtue of allowance of the amendment,

futility of amendment” should result in leave being denied. 2 In this case, allowing Defendant to



1
  Foman v. Davis, 371 U.S. 178, 182 (1962) (“In the absence of any apparent or declared reason -- such as undue
delay, bad faith or dilatory motive on the part of the movant, repeated failure to cure deficiencies by amendments
previously allowed, undue prejudice to the opposing party by virtue of allowance of the amendment, futility of
amendment, etc. -- the leave sought should, as the rules require, be ‘freely given.’")
2
  Foman, 371 U.S. at 182.
PLAINTIFF FRANCK RADENNE’S RESPONSE TO DEFENDANTS’ MOTION FOR LEAVE TO FILE
AMENDED COMPLAINT                                                                                          Page 2 of 6
Case 21-04030-mxm Doc 53 Filed 02/18/22                   Entered 02/18/22 16:43:28           Page 3 of 6


amend the complaint would result in delay and prejudice to the other parties, cause a delay in

resolution of this matter, and permit futile arguments to be brought before this Court.

A. UNDUE DELAY

        Defendant filed its Motion for Leave to amend its pleading after nearly 2 years had passed

since its Bankruptcy filing. At the time that the Motion for Leave will be heard, over 2 years will

have passed since the Bankruptcy filing. There has been ample opportunity for Defendant to ask

for amendment of its complaint in that time. Furthermore, Defendant waited 5 months into this

adversary before filing this Motion for Leave. Defendant’s assertions that the amendments are

necessary to administer this asset are belied by the fact that Defendant has waited until now to

bring up the issue, and in fact shows the unnecessary nature of the amendments.

B. DILATORY MOTIVE

        Dilatory motive has been found when the moving party “already had ample opportunity to

investigate their claims and seek leave to amend,” 3 where the “party's amendment sought to add

several new parties and additional counts that could have been raised initially," 4 and where the

motion for leave would fundamentally alter the case after months of litigation. 5

        Each of these instances applies to the situation at hand. Before Defendant filed its Motion

for Leave, Defendant had nearly 2 years (22 months) to investigate the “liens, claims, and other

interests with regard to the vehicle” from the beginning of the Bankruptcy filing. Furthermore,

Defendant had 5 months as well as seek to join UPS to this adversary proceeding before filing its

Motion for Leave. Furthermore, Defendant would have known about the importance of these issues

from the inception of this adversary proceeding—it is also important to note that there was also a

year of litigation and discovery in state court. This was “ample opportunity” for Defendant to have


3
  Wimm v. Jack Eckerd Corp., 3 F.3d 137, 139 (5th Cir. 1993).
4
  Barrett v. Indep. Order of Foresters, 625 F.2d 73, 75 (5th Cir. 1980).
5
  WRR Indus., Inc. v. Prologis, 2006 U.S. Dist. LEXIS 46210, 2006 WL 1814126, at *5 (N.D.Tex. June 30, 2006).
PLAINTIFF FRANCK RADENNE’S RESPONSE TO DEFENDANTS’ MOTION FOR LEAVE TO FILE
AMENDED COMPLAINT                                                                                  Page 3 of 6
Case 21-04030-mxm Doc 53 Filed 02/18/22                      Entered 02/18/22 16:43:28             Page 4 of 6


sought leave to amend. Defendant should have raised them initially or soon after this proceeding

began, as it was well aware of the ownership issues regarding the Corvette and UPS’s necessity as

a party when this suit began.

        Additionally, approving the Motion for Leave would fundamentally alter the case after

over 9 months of litigation. This adversary proceeding has been about whether Defendant

committed fraud, breach of contract, and breach of warranty in promising to deliver the 1968

Corvette promised in the Bill of Sale to Radenne. Granting Defendant’s Motion for Leave would

add the aspect of the ownership history of the Corvette to this litigation. Allowing this aspect would

fundamentally alter the parties’ arguments in this case because the parties have not tendered

discovery regarding this issue, briefed this issue, or argued this issue at any phase of this litigation,

including at the 14th Judicial District Court of Dallas County.

C. UNDUE PREJUDICE

        Furthermore, allowing these previously unmentioned issues would result in undue

prejudice to the other parties in this case. Delay is undue and prejudicial if it hinders the opposing

party's ability to respond to the proposed amendment or to prepare for trial. 6 This has been found

when the amendment was sought after discovery has closed 7 and in situations in which the grant

of leave to amend would necessitate additional discovery. 8

        The discovery that took place in the state court litigation closed in early 2021. The parties

at that time had had sufficient time to seek discovery, and since that time no substantive discovery

has been discussed or called for in this adversary proceeding. However, while discovery in this

adversary proceeding has not yet closed, if added UPS would need to investigate its claims or



6
  Dueling v. Devon Energy Corp., 623 F. App'x 127, 130 (5th Cir. 2015)
7
  Smith v. EMC Corp., 393 F.3d 590, 594-96 (5th Cir. 2004); Campbell v. Emory Clinic, 166 F.3d 1157, 1162 (11th
Cir. 1999) ("Prejudice and undue delay are inherent in an amendment asserted after the close of discovery and after
dispositive motions have been filed, briefed, and decided.")
8
  DeMoore v. Int'l Paper Co., 1998 U.S. Dist. LEXIS 12072, at *10 (N.D. Tex. 1998)
PLAINTIFF FRANCK RADENNE’S RESPONSE TO DEFENDANTS’ MOTION FOR LEAVE TO FILE
AMENDED COMPLAINT                                                                                       Page 4 of 6
Case 21-04030-mxm Doc 53 Filed 02/18/22              Entered 02/18/22 16:43:28        Page 5 of 6


claims against it, and more importantly discovery will be necessary to investigate the claims

regarding the Corvette interests. This would delay the conclusion of this case for irrelevant

purposes because, as stated above, this case is not about the ownership of the Corvette.

                                         CONCLUSION

       Allowing Defendant to amend its complaint would cause a major disruption to this

litigation. Defendant’s Motion for Leave is a request to insert ultimately non-dispositive claims

and issues into this case regarding the ownership of the Corvette. This would unduly prejudice

Radenne, and the other parties in this case because of time and fees that would be necessary to

investigate and argue the new and non-dispositive issues. Lastly, as Defendant has known about

these issues since the litigation in the state court, they should not have waited until now to raise

this issue with the Court.

                                            PRAYER

       PLAINTIFF, Franck Radenne, respectfully asks this Court DENY Defendant’s Motion for

Leave and award Radenne all other relief as he may be afforded under the law.

Dated: February 18, 2022                                 Respectfully submitted,

                                                         /s/ Mark A. Castillo
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                                                         Robert C. Rowe
                                                          Texas State Bar No. 24086253
                                                         Braxton B. Markle
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                                                     COUNSEL FOR PLAINTIFF FRANCK RADENNE

PLAINTIFF FRANCK RADENNE’S RESPONSE TO DEFENDANTS’ MOTION FOR LEAVE TO FILE
AMENDED COMPLAINT                                                        Page 5 of 6
Case 21-04030-mxm Doc 53 Filed 02/18/22         Entered 02/18/22 16:43:28     Page 6 of 6




                              CERTIFICATE OF SERVICE

       I, undersigned, hereby certify that on February 18, 2022, the foregoing document was
served via the Court’s CM/ECF system upon all parties receiving notice thereby.

                                                    /s/ Ty Lyon______
                                                    Ty Lyon




PLAINTIFF FRANCK RADENNE’S RESPONSE TO DEFENDANTS’ MOTION FOR LEAVE TO FILE
AMENDED COMPLAINT                                                        Page 6 of 6
